DOCUMENTS UNDER SEAL
                    Case 3:19-cr-00360-CRB Document 17 Filed 03/09/20 Page 100:02
                                                          TOTAL TIME (m ins):
                                                                              of 1
M AGISTRATE JUDGE                         DEPUTY CLERK                               REPORTER/FTR
M INUTE ORDER                             Ada Means                                  11:16-11:18
MAGISTRATE JUDGE                          DATE                                       NEW CASE         CASE NUMBER
Jacqueline Scott Corley                   March 9, 2020                                             CR19-0360 CRB
                                                    APPEARANCES
DEFENDANT                                 AGE     CUST  P/NP   ATTORNEY FOR DEFENDANT                     PD.     RET.
Carlos Vargas                                      N          NP     Daniel Blank                         APPT.
U.S. ATTORNEY                             INTERPRETER                               FIN. AFFT           COUNSEL APPT'D
Ryan Rezai                                                                          SUBMITTED

PROBATION OFFICER           PRETRIAL SERVICES OFFICER                 DEF ELIGIBLE FOR             PARTIAL PAYMENT
                            Katrina Chu                               APPT'D COUNSEL               OF CJA FEES
                                      PROCEEDINGS SCHEDULED TO OCCUR
       INITIAL APPEAR            PRELIM HRG       MOTION           JUGM'T & SENTG                           STATUS
                                                          00:02                                             TRIAL SET
       I.D. COUNSEL              ARRAIGNMENT               BOND HEARING             IA REV PROB. or         OTHER
                                                                                    or S/R
       DETENTION HRG             ID / REMOV HRG            CHANGE PLEA              PROB. REVOC.            ATTY APPT
                                                                                                            HEARING
                                                   INITIAL APPEARANCE
        ADVISED                ADVISED                    NAME AS CHARGED              TRUE NAME:
        OF RIGHTS              OF CHARGES                 IS TRUE NAME
                                                       ARRAIGNM ENT
       ARRAIGNED ON               ARRAIGNED ON               READING W AIVED               W AIVER OF INDICTMENT FILED
       INFORMATION                INDICTMENT                 SUBSTANCE
                                                       RELEASE
      RELEASED            ISSUED                   AMT OF SECURITY           SPECIAL NOTES              PASSPORT
      ON O/R              APPEARANCE BOND          $                                                    SURRENDERED
                                                                                                        DATE:
PROPERTY TO BE POSTED                         CORPORATE SECURITY                         REAL PROPERTY:
    CASH    $


      MOTION          PRETRIAL                DETAINED            RELEASED      DETENTION HEARING            REMANDED
      FOR             SERVICES                                                  AND FORMAL FINDINGS          TO CUSTODY
      DETENTION       REPORT                                                    W AIVED
ORDER REMOVED TO THE DISTRICT OF
                                                            PLEA
   CONSENT                     NOT GUILTY                  GUILTY                     GUILTY TO COUNTS:
   ENTERED
   PRESENTENCE                 CHANGE OF PLEA              PLEA AGREEMENT             OTHER:
   REPORT ORDERED                                          FILED
                                                       CONTINUANCE
TO:                              ATTY APPT                BOND                      STATUS RE:
                                 HEARING                  HEARING                   CONSENT               TRIAL SET

AT:                              SUBMIT FINAN.              PRELIMINARY             CHANGE OF             67$786
                                 AFFIDAVIT                  HEARING                 PLEA
                                                            BBBBBBBBBBBBB
BEFORE HON.                      DETENTION                  $55$,*1MENT             MOTIONS               JUDGMENT &
                                 HEARING                                                                  SENTENCING

       TIME W AIVED              TIME EXCLUDABLE            IDENTITY /              PRETRIAL              PROB/SUP REV.
                                 UNDER 18 § USC             REMOVAL                 CONFERENCE            HEARING
                                 3161                       HEARING
                                                ADDITIONAL PROCEEDINGS
Government's Motion for Forfeiture of the Defendant’s $20,000 Unsecured Bond and Entry of Judgment is granted. The Court
will issue a Report and Recommendation to Judge Breyer.
CC: JSC & CRB
                                                                                         DOCUMENT NUMBER:
